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 6

 7                           UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 8
 9   PACIFIC ENDODONTICS, P.S., individually
     and on behalf of all others similarly situated,
10                                                        No.
                                            Plaintiff,
11                                                        COMPLAINT - CLASS ACTION
            v.
12                                                        JURY DEMAND
     THE OHIO CASUALTY INSURANCE
13   COMPANY,
14
                                        Defendant.
15

16
                                       I.        INTRODUCTION
17
            Plaintiff, PACIFIC ENDODONTICS, P.S. (“Pacific”), individually and on behalf of all
18
     other similarly situated members of the defined national class (the “Class Members”), by and
19

20   through the undersigned attorneys, brings this class action against Defendant The Ohio Casualty

21   Insurance Company (“OCIC” or “Defendant”) and alleges as follows based on personal

22   knowledge and information and belief:
23
                                 II.    JURISDICTION AND VENUE
24
            1.      This Court has subject matter jurisdiction pursuant to the Class Action Fairness
25
     Act of 2005, 28 U.S.C. § 1332(d), because at least one Class member is of diverse citizenship
26


     CLASS ACTION COMPLAINT- 1                                         K E L L E R R O H R B AC K    L.L.P.
                                                                           1201 Third A venue, Suite 3200
                                                                              Seattle, W A 98101-3052
                                                                           TELEPHONE: (206) 623-1900
                                                                            FACSIMILE: (206) 623-3384
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     from Defendant, there are 100 or more Class members nationwide, and the aggregate amount in
 1

 2   controversy exceeds $5,000,000. The Court has supplemental jurisdiction over Plaintiffs’ state

 3   law claims under 28 U.S.C. § 1367.

 4          2.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(3) because the
 5
     Court has personal jurisdiction over Defendant, a substantial portion the alleged wrongdoing
 6
     occurred in this District and the state of Washington, and Defendant has sufficient contacts with
 7
     this District and the state of Washington.
 8
            3.      Venue is proper in the Western District of Washington pursuant to 28 U.S.C.
 9

10   § 1391(b)(2) because a substantial part of the events or omissions giving rise to the claims at

11   issue in this Complaint arose in this District. Plaintiff’s businesses are located in Seattle, King
12   County. This action is therefore appropriately filed in the Seattle Division because a substantial
13
     portion of the events giving rise to this lawsuit arose in King County.
14
                                              III.    PARTIES
15
            4.      Plaintiff, Pacific Endodontics, P.S. is a dentistry endodontics business with
16
     locations at 1229 Madison Street, Ste 1140, Seattle, Washington and 2743 California Avenue
17

18   SW, Ste 300, Seattle, Washington.

19          5.      Defendant OCIC is an insurance carrier incorporated and domiciled in the State

20   of New Hampshire, with its principal place of business in the Commonwealth of Massachusetts,
21
     and is a subsidiary of Liberty Mutual Insurance (“Liberty Mutual”).
22
                                     IV.     NATURE OF THE CASE
23
            6.      Due to COVID-19 and a state-ordered mandated closure, Plaintiff cannot provide
24
     dental endodontist services. Plaintiff intended to rely on its business insurance to keep its
25

26   business as a going concern. This lawsuit is filed to ensure that Plaintiff and other similarly-


     CLASS ACTION COMPLAINT- 2                                            K E L L E R R O H R B AC K     L.L.P.
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     situated policyholders receive the insurance benefits to which they are entitled and for which
 1

 2   they paid.

 3          7.      Defendant OCIC issued one or more insurance policies to Plaintiff, including

 4   Business Owners Coverage and related endorsements, insuring Plaintiff’s property and business
 5
     practice and other coverages, with effective dates of June 21, 2019 to June 21, 2020.
 6
            8.      Plaintiff’s business property includes property owned and/or leased by Plaintiff
 7
     and used for general business purposes for the specific purpose of dental endodontistry and
 8
     other business activities.
 9

10          9.      Defendant OCIC’s insurance policy issued to Plaintiff promises to pay Plaintiff

11   for “DIRECT PHYSICAL LOSS” to covered property and includes coverage for risks of both
12   “loss of or damage to” covered property.
13
            10.     Defendant OCIC’s insurance policy issued to Plaintiff includes Business Income
14
     Coverage, Extended Business Income Coverage, Extra Expense Coverage and Civil Authority
15
     Coverage.
16

17          11.     Plaintiff paid all premiums for the coverage when due.

18          12.     On or about January 2020, the United States of America saw its first cases of

19   persons infected by COVID-19, which has been designated a worldwide pandemic.
20          13.     In light of this pandemic, Washington Governor Jay Inslee issued certain
21
     proclamations and orders affecting many persons and businesses in Washington, whether
22
     infected with COVID-19 or not, requiring certain public health precautions. Among other
23
     things, Governor Inslee’s “Stay Home, Stay Healthy” order required the closure of all non-
24

25   essential businesses, including Plaintiff’s business.

26


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            14.     By order of Governor Inslee, practitioners including Plaintiff were prohibited
 1

 2   from practicing dental endodontistry but for urgent and emergency procedures.

 3          15.     Plaintiff’s property sustained direct physical loss and/or damage related to

 4   COVID-19 and/or the proclamations and orders.
 5
            16.     Plaintiff’s property will continue to sustain direct physical loss or damage
 6
     covered by the OCIC policy or policies, including but not limited to business interruption, extra
 7
     expense, interruption by civil authority, and other expenses.
 8
            17.     Plaintiff’s property cannot be used for its intended purposes.
 9

10          18.     As a result of the above, Plaintiff has experienced and will experience loss

11   covered by the OCIC policy or policies.
12          19.     Plaintiff submitted a claim to OCIC for the direct physical loss or damage to
13
     Plaintiff’s property covered under the OCIC policy related to COVID-19 and/or the
14
     proclamations and orders; OCIC denied Plaintiff’s claim for coverage.
15
            20.     On information and belief, OCIC has denied or will deny all similar claims for
16

17   coverage.

18                             V.      CLASS ACTION ALLEGATIONS

19          21.     This matter is brought by Plaintiff on behalf of itself and those similarly situated,

20   under Federal Rules of Civil Procedure 23(b)(1), 23(b)(2), and 23(b)(3).
21
            22.     The Classes and Subclasses that Plaintiff seek to represent are defined at this
22
     time as:
23
                    A.     Business Income Breach of Contract Class: All persons and entities in
24
            the United States insured under an OCIC policy with Business Income coverage who
25

26          suffered a suspension of their practice at the covered premises related to COVID-19


     CLASS ACTION COMPLAINT- 4                                           K E L L E R R O H R B AC K    L.L.P.
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           and/or orders issued by Governor Inslee, other Governors, and/or other civil authorities
 1

 2         and whose Business Income claim was denied by OCIC.

 3                B.      Business Income Coverage Breach of Contract Washington Subclass:

 4         All persons and entities in the State of Washington insured under an OCIC policy with
 5
           Business Income Coverage who suffered a suspension of their business at the covered
 6
           premises related to COVID-19 and/or orders issued by Governor Inslee, other
 7
           Governors, and/or other civil authorities and whose Business Income claim was denied
 8
           by OCIC.
 9

10                C.      Business Income Declaratory Relief Class: All persons and entities in

11         the United States insured under an OCIC policy with Business Income coverage who
12         suffered a suspension of their practice related to COVID-19 and/or orders issued by
13
           Governor Inslee, other Governors, and/or other civil authorities at the covered premises.
14
                  D.      Business Income Coverage Declaratory Relief Washington Subclass:
15
           All persons and entities in the State of Washington insured under an OCIC policy with
16

17         Business Income Coverage who suffered a suspension of their business at the covered

18         premises related to COVID-19 and/or orders issued by Governor Inslee, other

19         Governors, and/or other civil authorities.
20                E.      Extended Business Income Breach of Contract Class: All persons and
21
           entities in the United States insured under an OCIC policy with Extended Business
22
           Income coverage who suffered a suspension of their business at the covered premises
23
           related to COVID-19 and/or orders issued by Governor Inslee, other Governors, and/or
24

25         other civil authorities and whose Extended Business Income claim was denied by OCIC.

26


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                   F.      Extended Business Income Breach of Contract Washington Subclass:
 1

 2         All persons and entities in the State of Washington insured under an OCIC policy with

 3         Extended Business Income coverage who suffered a suspension of their business at the

 4         covered premises related to COVID-19 and/or orders issued by Governor Inslee, other
 5
           Governors, and/or other civil authorities and whose Extended Business Income claim
 6
           was denied by OCIC.
 7
                   G.      Extended Business Income Declaratory Relief Class: All persons and
 8
           entities in the United States insured under an OCIC policy with Extended Business
 9

10         Income coverage who suffered a suspension of their business at the covered premises

11         related to COVID-19 and/or orders issued by Governor Inslee, other Governors, and/or
12         other civil authorities.
13
                   H.      Extended Business Income Declaratory Relief Washington Subclass:
14
           All persons and entities in the State of Washington insured under an OCIC policy with
15
           Extended Business Income coverage who suffered a suspension of their business at the
16

17         covered premises related to COVID-19 and/or orders issued by Governor Inslee, other

18         Governors, and/or other civil authorities.

19                 I.      Extra Expense Breach of Contract Class: All persons and entities in the
20         United States insured under an OCIC policy with Extra Expense coverage who sought to
21
           minimize losses from the suspension of their business at the covered premises in
22
           connection with COVID-19 and/or orders issued by Governor Inslee, other Governors,
23
           and/or other civil authorities and whose Extra Expense claim was denied by OCIC.
24

25                 J.      Extra Expense Breach of Contract Washington Subclass: All persons

26         and entities in the State of Washington insured under an OCIC policy with Extra


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           Expense coverage who sought to minimize losses from the suspension of their business
 1

 2         at the covered premises in connection with COVID-19 and/or orders issued by Governor

 3         Inslee, other Governors, and/or other civil authorities and whose Extra Expense claim

 4         was denied by OCIC.
 5
                   K.      Extra Expense Declaratory Relief Class: All persons and entities in the
 6
           United States insured under an OCIC policy with Extra Expense coverage who sought to
 7
           minimize losses from the suspension of their business at the covered premises in
 8
           connection with COVID-19 and/or orders issued by Governor Inslee, other Governors,
 9

10         and/or other civil authorities.

11                 L.      Extra Expense Declaratory Relief Washington Subclass: All persons
12         and entities in the State of Washington insured under an OCIC policy with Extra
13
           Expense coverage who sought to minimize losses from the suspension of their business
14
           at the covered premises in connection with COVID-19 and/or orders issued by Governor
15
           Inslee, other Governors, and/or other civil authorities.
16

17                 M.      Civil Authority Breach of Contract Class: All persons and entities in the

18         United States insured under an OCIC policy with Civil Authority coverage who suffered

19         a suspension of their practice and/or extra expense at the covered premises related to
20         COVID-19 and/or orders issued by Governor Inslee, other Governors, and/or other civil
21
           authorities and whose Civil Authority claim was denied by OCIC.
22
                   N.      Civil Authority Breach of Contract Washington Subclass: All persons
23
           and entities in the State of Washington insured under an OCIC policy with Civil
24

25         Authority coverage who suffered a suspension of their practice and/or extra expense at

26         the covered premises related to COVID-19 and/or orders issued by Governor Inslee,


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            other Governors, and/or other civil authorities and whose Civil Authority claim was
 1

 2          denied by OCIC.

 3                  O.      Civil Authority Declaratory Relief Class: All persons and entities in the

 4          United States insured under an OCIC policy with Civil Authority coverage who suffered
 5
            a suspension of their practice at the covered premises related to COVID-19 and/or orders
 6
            issued by Governor Inslee, other Governors, and/or other civil authorities.
 7
                    P.      Civil Authority Declaratory Relief Washington Subclass: All persons
 8
            and entities in the State of Washington insured under an OCIC policy with Civil
 9

10          Authority coverage who suffered a suspension of their practice at the covered premises

11          related to COVID-19 and/or orders issued by Governor Inslee, other Governors, and/or
12          other civil authorities.
13
            23.     Excluded from the Classes and Subclasses are Defendant’s officers, directors,
14
     and employees; the judicial officers and associated court staff assigned to this case; and the
15
     immediate family members of such officers and staff. Plaintiff reserves the right to amend the
16

17   Class definition based on information obtained in discovery.

18          24.     This action may properly be maintained on behalf of each proposed Class under

19   the criteria of Rule 23 of the Federal Rules of Civil Procedure.
20          25.     Numerosity: The members of the Class are so numerous that joinder of all
21
     members would be impractical. Plaintiff is informed and believes that the proposed Class
22
     contains thousands of members. The precise number of class members can be ascertained
23
     through discovery, which will include Defendant’s records of policyholders.
24

25

26


     CLASS ACTION COMPLAINT- 8                                           K E L L E R R O H R B AC K    L.L.P.
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            26.     Commonality and Predominance: Common questions of law and fact
 1

 2   predominate over any questions affecting only individual members of the Class. Common

 3   questions include, but are not limited to, the following:

 4                  A.      Whether the class members suffered covered losses based on common
 5
            policies issued to members of the Class;
 6
                    B.      Whether OCIC acted in a manner common to the class and wrongfully
 7
            denied claims for coverage relating to COVID-19 and/or orders issued by Governor
 8
            Inslee, other Governors, and/or other civil authorities;
 9

10                  C.      Whether Business Income coverage in OCIC’s policies of insurance

11          applies to a suspension of practice relating to COVID-19 and/or orders issued by
12          Governor Inslee, other Governors, and/or other civil authorities;
13
                    D.      Whether Extended Business Income coverage in OCIC’s policies of
14
            insurance applies to a suspension of practice relating to COVID-19 and/or orders issued
15
            by Governor Inslee, other Governors, and/or other civil authorities;
16

17                  E.      Whether Extra Expense coverage in OCIC’s policies of insurance applies

18          to efforts to minimize a loss at the covered premises relating to COVID-19 and/or orders

19          issued by Governor Inslee, other Governors, and/or other civil authorities;
20                  F.      Whether Civil Authority coverage in OCIC’s policies of insurance applies
21
            to a suspension of practice relating to COVID-19 and/or orders issued by Governor
22
            Inslee, other Governors, and/or civil authorities;
23
                    G.      Whether OCIC has breached its contracts of insurance through a blanket
24

25          denial of all claims based on business interruption, income loss or closures related to

26


     CLASS ACTION COMPLAINT- 9                                          K E L L E R R O H R B AC K    L.L.P.
                                                                            1201 Third A venue, Suite 3200
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              COVID-19 and/or orders issued by Governor Inslee, other Governors, and/or other civil
 1

 2            authorities;

 3                      H.     Whether, because of Defendant’s conduct, Plaintiff and the class

 4            members have suffered damages; and if so, the appropriate amount thereof; and
 5
                        I.     Whether, because of Defendant’s conduct, Plaintiff and the class
 6
              members are entitled to equitable and declaratory relief, and if so, the nature of such
 7
              relief.
 8
              27.       Typicality: Plaintiff’s claims are typical of the claims of the members of the
 9

10   classes. Plaintiff and all the members of the classes have been injured by the same wrongful

11   practices of Defendant. Plaintiff’s claims arise from the same practices and course of conduct
12   that give rise to the claims of the members of the Class and are based on the same legal theories.
13
              28.       Adequacy: Plaintiff will fully and adequately assert and protect the interests of
14
     the classes and has retained class counsel who are experienced and qualified in prosecuting class
15
     actions. Neither Plaintiff nor its attorneys have any interests contrary to or in conflict with the
16

17   Class.

18            29.       Federal Rule of Civil Procedure 23(b)(1), the Risk of Inconsistent or

19   Varying Adjudications and Impairment to Other Class Members’ Interests: Plaintiff seeks
20   adjudication as to the interpretation, and resultant scope, of Defendant’s policies, which are
21
     common to all members of the class. The prosecution of separate actions by individual members
22
     of the classes would risk inconsistent or varying interpretations of those policy terms and create
23
     inconsistent standards of conduct for Defendant. The policy interpretations sought by Plaintiff
24

25   could also impair the ability of absent class members to protect their interests.

26


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            30.     Federal Rule of Civil Procedure 23(b)(2), Declaratory and Injunctive Relief:
 1

 2   Defendant acted or refused to act on grounds generally applicable to Plaintiff and other

 3   members of the proposed classes making injunctive relief and declaratory relief appropriate on a

 4   classwide basis.
 5
            31.     Federal Rule of Civil Procedure 23(b)(3), Superiority: A class action is
 6
     superior to all other available methods of the fair and efficient adjudication of this lawsuit.
 7
     While the aggregate damages sustained by the classes are likely to be in the millions of dollars,
 8
     the individual damages incurred by each class member may be too small to warrant the expense
 9

10   of individual suits. Individual litigation creates a risk of inconsistent and/or contradictory

11   decisions and the court system would be unduly burdened by individual litigation of such cases.
12   A class action would result in a unified adjudication, with the benefits of economies of scale and
13
     supervision by a single court.
14
                                       VI.    CAUSES OF ACTION
15
                                   Count One—Declaratory Judgment
16
               (Brought on behalf of the Business Income Coverage Declaratory Relief Class,
17
       Business Income Coverage Declaratory Relief Washington Subclass, Extended Business
18   Income Declaratory Relief Class, Extended Business Income Declaratory Relief Washington
        Subclass, Civil Authority Declaratory Relief Class, Civil Authority Declaratory Relief
19       Washington Subclass, Extra Expense Declaratory Relief Class, and Extra Expense
                             Declaratory Relief Washington Subclass)
20
            32.     Previous paragraphs alleged are incorporated herein.
21

22          33.     This is a cause of action for declaratory judgment pursuant to the Declaratory

23   Judgment Act, codified at 28 U.S.C. § 2201.

24          34.     Plaintiff Pacific Endodontics, P.S., brings this cause of action on behalf of the
25   Business Income Coverage Declaratory Relief Class, Business Income Coverage Declaratory
26
     Relief Washington Subclass, Extended Business Income Declaratory Relief Class, Extended

     CLASS ACTION COMPLAINT- 11                                           K E L L E R R O H R B AC K    L.L.P.
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     Business Income Declaratory Relief Washington Subclass, Civil Authority Declaratory Relief
 1

 2   Class, Civil Authority Declaratory Relief Washington Subclass, Extra Expense Declaratory

 3   Relief Class, and Extra Expense Declaratory Relief Washington Subclass.

 4          35.     Plaintiff Pacific Endodontics, P.S., seeks a declaratory judgment declaring that
 5
     Plaintiff Pacific Endodontics’ and class members’ losses and expenses resulting from the
 6
     interruption of their business are covered by the Policy.
 7
            36.     Plaintiff Pacific Endodontics, P.S., seeks a declaratory judgment declaring that
 8
     Liberty Mutual is responsible for timely and fully paying all such claims.
 9

10                                  Count Two—Breach of Contract

11              (Brought on behalf of the Business Income Coverage Breach of Contract Class,
                Business Income Coverage Breach of Contract Washington Subclass, Extended
12             Business Income Breach of Contract Class, Extended Business Income Breach of
                 Contract Washington Subclass, Civil Authority Breach of Contract Class, Civil
13
                 Authority Breach of Contract Washington Subclass, Extra Expense Breach of
14               Contract Class, and Extra Expense Breach of Contract Washington Subclass)

15          37.     Previous paragraphs alleged are incorporated herein.

16          38.     Plaintiff Pacific Endodontics, P.S., brings this cause of action on behalf of the
17
     Business Income Coverage Breach of Contract Class, Business Income Coverage Breach of
18
     Contract Washington Subclass, Extended Business Income Breach of Contract Class, Extended
19
     Business Income Breach of Contract Washington Subclass, Civil Authority Breach of Contract
20
     Class, Civil Authority Breach of Contract Washington Subclass, Extra Expense Breach of
21

22   Contract Class, and Extra Expense Breach of Contract Washington Subclass.

23          39.     The Policy is a contract under which Plaintiff Pacific Endodontics, P.S., and the
24   class paid premiums to OCIC in exchange for OCIC’s promise to pay Plaintiff Pacific
25
     Endodontics, P.S., and the class for all claims covered by the Policy.
26
            40.     Plaintiff Pacific Endodontics, P.S., has paid its insurance premiums.

     CLASS ACTION COMPLAINT- 12                                          K E L L E R R O H R B AC K     L.L.P.
                                                                              1201 Third A venue, Suite 3200
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            41.     Plaintiff submitted a claim to OCIC for the direct physical loss or damage to
 1

 2   Plaintiff’s property covered under the OCIC policy related to COVID-19 and/or the

 3   proclamations and orders; OCIC denied Plaintiff’s claim for coverage. On information and

 4   belief, OCIC has denied coverage for other similarly situated policyholders.
 5
            42.     Denying coverage for the claim is a breach of the insurance contract.
 6
            43.     Plaintiff Pacific Endodontics, P.S., is harmed by the breach of the insurance
 7
     contract by OCIC.
 8
                                     VII.    PRAYER FOR RELIEF
 9

10          1.      A declaratory judgment that the policy or policies cover Plaintiff’s losses and

11   expenses resulting from the interruption of the Plaintiff’s business related to COVID-19 and/or

12   orders issued by Governor Inslee, other Governors, and/or other authorities.
13          2.      A declaratory judgment that the defendant is responsible for timely and fully
14
     paying all such losses.
15
            3.      Damages.
16
            4.      Pre- and post-judgment interest at the highest allowable rate.
17

18          5.      Reasonable attorney fees and costs.

19          6.      Such further and other relief as the Court shall deem appropriate.

20                                 VIII. JURY TRIAL DEMANDED
21          Plaintiff demands a jury trial on all claims so triable.
22
            DATED this 23rd day of April, 2020.
23

24

25

26


     CLASS ACTION COMPLAINT- 13                                         K E L L E R R O H R B AC K    L.L.P.
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                                            KELLER ROHRBACK L.L.P.
 1

 2                                          By: s/ Ian S. Birk
 3                                          By: s/ Lynn L. Sarko
                                            By: s/ Gretchen Freeman Cappio
 4                                          By: s/ Irene M. Hecht
                                            By: s/Amy Williams-Derry___________________
 5                                          By: s/Maureen Falecki
                                                Ian S. Birk, WSBA #31431
 6
                                                Lynn L. Sarko, WSBA #16569
 7                                              Gretchen Freeman Cappio, WSBA #29576
                                                Irene M. Hecht, WSBA #11063
 8                                              Amy Williams-Derry, WSBA#28711
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16                                          By: s/ Alison Chase
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20
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21

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     CLASS ACTION COMPLAINT- 14                                K E L L E R R O H R B AC K    L.L.P.
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